
Per curiam.
Respondent Jack Lasonde was found guilty of violating Standards 44, 63, and 68 of the State Bar of Georgia Rule 4-102.
Based upon these violations, the Review Panel of the State Bar of Georgia Disciplinary Board recommends that respondent be disbarred from the practice of law in the State of Georgia.
Based upon the facts and circumstances in this case, the Court modifies the recommendation of the Review Panel and directs that, beginning March 15, 1990, Jack Lasonde be suspended from the practice of law in the State of Georgia for a period of two (2) years.
Respondent is further directed to notify his clients of this suspension and take all actions necessary to protect their interests.

All the Justices concur.

